Case 2:20-cv-05492-ES-JRA Document 101 Filed 06/06/22 Page 1 of 5 PageID: 1823




                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY

                                            Civil Action No.: 2:20-cv-05492-ES-
McCAFFREE FINANCIAL CORP. and               MAH
MARK McCAFFREE, individually, on
behalf of all situated participants,
beneficiaries, and plan sponsors or other   NOTICE OF MOTION TO
fiduciaries, and on behalf of the ADP       DISMISS PLAINTIFFS’
TOTALSOURCE RETIREMENT                      AMENDED COMPLAINT
SAVINGS PLAN,

                   Plaintiff,               Document Electronically Filed

      v.

ADP, INC.; ADP TOTALSOURCE
GROUP,
INC.; the ADMINISTRATIVE
COMMITTEE
OF THE ADP TOTALSOURCE
RETIREMENT SAVINGS PLAN; 401K
ADVISORS, INC. n/k/a NFP
RETIREMENT,
and DOES No. 1-10, Whose Names Are
Currently Unknown,

                   Defendants.


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                                      2
Case 2:20-cv-05492-ES-JRA Document 101 Filed 06/06/22 Page 3 of 5 PageID: 1825




      COUNSEL:

      PLEASE TAKE NOTICE that, upon the accompanying Memorandum of

Law in Support of Their Motion to Dismiss Plaintiffs' Amended Complaint and

Proposed Order, the undersigned attorneys for Defendants ADP, Inc., ADP

TotalSource Group, Inc., and the Administrative Committee of the ADP

TotalSource Retirement Savings Plan (“Defendants”), shall move this Court,

pursuant to Federal Rule Civil Procedure 12(b)(6), at a time to be determined by

the Court, before the Honorable Esther Salas, at the United States District Court for

the District of New Jersey, Martin Luther King Building & U.S. Courthouse, 50

Walnut Street, Newark, New Jersey 07101, for an Order dismissing Plaintiffs’

claims against Defendants and for such other relief the Court may deem just and

proper.

      PLEASE TAKE FURTHER NOTICE that oral argument is requested.
Case 2:20-cv-05492-ES-JRA Document 101 Filed 06/06/22 Page 4 of 5 PageID: 1826




Dated: June 6, 2022                    SEYFARTH SHAW LLP

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                                          Attorney for Defendants ADP, Inc.,
                                          ADP Totalsource Group, Inc., the
                                          Administrative Committee of the
                                          ADP Totalsource Retirement Savings
                                          Plan




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Case 2:20-cv-05492-ES-JRA Document 101 Filed 06/06/22 Page 5 of 5 PageID: 1827




                         CERTIFICATE OF SERVICE
      The undersigned hereby certifies that she electronically filed the foregoing

Motion to Dismiss Plaintiffs’ Amended Complaint with supporting papers, with

the Clerk of the United States District Court for the District of New Jersey using

the CM/ECF system on this 6th day of June, 2022, which sent notification of such

filing to the following counsel of record:

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Dated: June 6, 2022


                                          /s/ Alnisa S. Bell
                                       Alnisa S. Bell




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